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                     UNITED ST ATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

  YONGJOON CHOI, derivatively on behalf
  of PTC THERAPEUTICS, INC.,            Case No: 2: l 7-cv-07216-ES-
                                        MAH
       Plaintiff,

       vs.

  STUART W. PELTZ, SHANE KOVACS,
  MICHAEL SCHMERTZLER, RICHARD
  ALDRICH, ALLAN JACOBSON, ADAM
  KOPPEL, MICHAEL KRANDA, C.
  GEOFFREY MCDONOUGH, RONALD
  C. RENAUD, JR., DA YID P.
  SOUTHWELL, JEROME ZELDIS, and
  GLENN D. STEELE, JR.,

       Defendants,

       and

  PTC THERAPEUTICS, INC.,

       Nominal Defendant.

 NED KIM, derivatively on behalf of PTC
 THERAPEUTICS, INC.,                    Case No: 2: 17-cv-08062-ES-
                                        MAH
     Plaintiff,

       VS.


 STUART W. PELTZ, SHANE KOVACS,
 MICHAEL SCHMERTZLER, RICHARD
 ALDRICH, ALLAN JACOBSON, ADAM
 KOPPEL, MICHAEL KRANDA, C.
 GEOFFREY MCDONOUGH, RONALD
 C. RENAUD, JR., DAYID P.
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  SOUTHWELL, JEROME ZELDIS, and
  GLENN D. STEELE, JR.,

        Defendants,

        and

  PTC THERAPEUTICS, INC.,

        Nominal Defendant.


      STIPULATION AND ORDER TO CONSOLIDATE DERIVATIVE
            ACTIONS AND APPOINT CO-LEAD COUNSEL
       Plaintiffs Yongjoon Choi ("Choi") and Ned Kim ("Kim") (collectively,

 "Plaintiffs"), nominal defendant PTC Therapeutics, Inc. (''PTC"), and defendants

 Stuart W. Peltz, Shane Kovacs, Michael Schmertzler, Richard Aldrich, Allan

 Jacobson, Adam Koppel, Michael Kranda, C. Geoffrey McDonough, Ronald C.

 Renaud, Jr., David P. Southwell, Jerome Zeldis, and Glenn D. Steele, Jr.

 (collectively, the "Individual Defendants," and together with nominal defendant

 PTC, "Defendants") submit this Stipulation and Order to Consolidate Derivative

 Actions and Appoint Co-Lead Counsel ("Stipulation"), and in support thereof state

 as follows:

       WHEREAS, Plaintiffs Choi and Kim separately filed the above-captioned

 shareholder derivative lawsuits in this Court against Defendants, alleging the same

 causes of action and involving common questions of law and fact (the "Choi

 Lawsuit" and the "Kim Lawsuit," respectively);


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         WHEREAS, Defendants take no position on the appointment of lead counsel;

 and

         WHEREAS, Rule 42{a) of the Federal Rules of Civil Procedure provides that

 a court may order all actions consolidated if they involve "common issues of law or

 fact." Fed. R. Civ. P. 42(a). The Choi Lawsuit and the Kim Lawsuit involve common

 legal and factual issues; thus, consolidation will promote efficiency and consistency.

 See Fed. R. Civ. P. 42{a);WHEREAS, The Rosen Law Finn, P.A. and The Brown

 Law Firm, P.C. have significant experience in complex shareholder litigation and

 derivative actions, are well capitalized, and are fully capable and prepared to pursue

 this derivative action. Copies of their resumes are annexed hereto as Exhibit I and

 Exhibit 2, respectively.

         NOW THEREFORE, it is hereby stipulated by and between the undersigned

 that:

         1.    The undersigned counsel for the Defendants accept service of the

 summons and complaint in the Choi Lawsuit on behalf of all of the Individual

 Defendants as of November 21, 2017.

         2.    The undersigned counsel for the Defendants accept service of the

 summons and complaint in the Kim Lawsuit on behalf of all of the Defendants as of

 November 21, 2017.




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        3.    The Choi Lawsuit and the Kim Lawsuit shall be consolidated pursuant

 to Fed. R. Civ. P. 42(a) for all purposes, including trial, for they involve common

 questions of law or fact ("Consolidated Derivative Litigation").

       4.     The Consolidated Derivative Litigation shall be captioned Jn re PTC

 Therapeutics, Inc. Derivative Litigation, Civil Action No. 17-07216-ES-MAH.

        5.     Plaintiffs hereby designate the complaint filed in the Kim Lawsuit as

 the operative complaint in the Consolidated Derivative Litigation.

       6.     Unless otherwise ordered, the terms of this Order ("Order"), including

 pre-trial consolidation, shall apply to derivative actions later instituted in, transferred

 to, or coordinated with this Court that involve similar or related claims which involve

 a common question of law or fact or which arise from the same transaction or

 occurrence, or are otherwise deemed related to the Consolidated Derivative

 Litigation (a "Related Derivative Action"). If and when a Related Derivative Action

 is hereinafter filed in this Court or transferred to this Court, Co-Lead Counsel for

 Plaintiffs shall serve a filed-endorsed copy of this Order upon attorneys for the

 plaintiff(s) in the newly-filed or transferred action. Co-Lead Counsel for Plaintiffs

 shall also advise the attorneys for the plaintiff(s) in any Related Derivative Action

 that those attorneys must serve a copy of this Order on any new defendant(s) in the

 Related Derivative Action and file proof of service of this Order with the Court.

 Objections to consolidation or application of the other terms of this Order to the



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 Related Derivative Action shall be filed with the Court promptly, with a copy served

 on Co-Lead Counsel for Plaintiffs and counsel for Defendants. Unless otherwise

 ordered, the terms of all orders, rulings, and decisions in the Consolidated Derivative

 Litigation shall apply to all Related Derivative Actions.

       7.     The Rosen Law Firm, P.A. and The Brown Law Finn, P.C. shall serve

 as Co-Lead Counsel for Plaintiffs in the Consolidated Derivative Litigation and all

 other Related Derivative Actions that have been filed in or transferred to this Court.

       8.     Co-Lead Counsel shall have sole authority to:

              a.     determine and present (in briefs, oral argument, or such other

                     fashion as may be appropriate, personally or by a designee) to

                     the Court and opposing parties the position of the plaintiffs on all

                     matters arising during pretrial proceedings;

              b.     coordinate the initiation and conduct of discovery on behalf of

                     plaintiffs consistent with the requirements of the Federal Rules;

              c.     conduct settlement negotiations on behalf of plaintiffs;

              d.     delegate specific tasks to other counsel in a manner to ensure that

                     pretrial preparation for the plaintiffs is conducted efficiently and

                     effectively;

              e.     enter into stipulations and/or agreements with opposing counsel

                     as necessary for the conduct of the litigation;
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             f.     monitor the activities of all counsel to ensure that schedules are

                    met and unnecessary expenditures of time and funds are avoided;

                    and

             g.     perform such other duties as may be incidental to the proper

                    coordination of plaintiffs' pretrial activities or authorized by

                    further order of the Court.

       9.    This Order shall remain in effect until further order of this Court.

 AGREED as to form and content on this 29th day of November 2017:


 Isl Laurence M. Rosen                       Isl Kate D. Seib
  Laurence M. Rosen, Esq.                    Kate D. Seib
  THE ROSEN LAW FIRM, P.A.                   GOODWIN PROCTER LLP
  609 W. South Orange Avenue, Suite 2P       The New York Times Building
  South Orange, NJ 07079                     620 Eighth Avenue
  Telephone: (973) 313-1887                  New York, NY 10018
  Fax: (973) 833-0399                        Tel.: (212) 813-8800
  Email: lrosen@rosenlegal.com               Fax: (212) 355-3333
                                             kseib@goodwinlaw.com
  Counsel for Plaillliff Ned Kim
                                             Deborah S. Birnbach (pro hac
 Isl Laurence M. Rosen                      forthcoming)
 Laurence M. Rosen, Esq.                     Adam Slutsky (pro hac forthcoming)
 THE ROSEN LAW FIRM, P.A.                    Katherine McKenney (pro /we
 609 W. South Orange Avenue, Suite 2P       forthcoming)
 South Orange, NJ 07079                      GOODWIN PROCTER LLP
 Telephone: (973) 313-1887                   100 Northern Avenue
 Fax: {973) 833-0399                         Boston, MA 02210
 Email: lrosen@rosenlegal.com                Tel. : (617) 570-1000
                                             Fax : (617) 523-1231
 Local Counsel for Plaintiff Yongjoon        dbimbach@goodwinlaw.com
 Choi                                        aslutsky@goodwinlaw.com
                                             kmckenney@goodwinlaw.com


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                                         Counsel for Nominal Defendant PTC
  Timothy W. Brown (pro hac              Therapeutics, Inc. and Defendants Stuart W
 forthcoming)                            Peltz, Shane Kovacs, Michael Schmertz/er.
  THE BROWN LAW FIRM, P.C.               Richard Aldrich, Allan Jacobson, Adam
  240 Townsend Square                    Koppel. Michael Kranda, C. Geoffrey
  Oyster Bay, NY 11771                   McDonough, Ronald C. Renaud, Jr., David
  Telephone: (516) 922-5427              P. Southwell. Jerome Zeldis, and Glenn D.
  Fax: (516) 344-6204                    Steele, Jr.
  Email: tbrown@thebrownlawfinn.net

  Counsel/or Plaintiff Yongjoon Choi




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